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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                         Southern District of California

               In the Matter of the Search of                                )
                                                                                                       22mj1921-KSC
         (Briefly describe the property lo be searched                       )
          or identify the person by name and address)                        )              Case No.
                     iPhone 12 Pro Max                                       )
                  2022205600050901-0007                                      )
                    ("Target Device")                                        )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  See Attachment A, incorporated herein by reference.
located in the             Southern               District of                 California                 , there is now concealed (identify the
                                                                ------------
person or describe the property lo be seized):

 See Attachment B, incorporated herein by reference.

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                 rt evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                        Offense Description
        21 USC Sec. 952 and 960                   Importation of a Controlled Substance
        21 use Sec. 963                           Conspiracy to Import

          The application is based on these facts:
        See Attached Affidavit, incorporated herein by reference.

          rt   Continued on the attached sheet.
          0 Delayed notice of _ _ days (give exact ending date if more than 30days:
            18 U.S.C. § 3103a, the basis of which is set forth on the                  ? t.              _ _ _ _ _ ) is requested under
                                                                                                          ~


                                                                                                       Applicant's signature

                                                                                               Bradley Blazer, HSI Special Agent
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic means).


Date:          May 31, 2022
                                                                                                         Judge's signature

City and state: San Diego, California                                            Hon. Karen S. Crawford, United States Magistrate Judge
                                                                                                       Printed name and title
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                               ATTACHMENT A

                        PROPERTY TO BE SEARCHED

The following property is to be searched:

      iPhone 12 Pro Max
      Seizure No. 2022205600050901-0007
      ("Target Device")

The Target Device is currently in the possession of Homeland Security
Investigations, located at 880 Front Street, San Diego, CA 92101.
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                                 ATTACHMENT B
                               ITEMS TO BE SEIZED

      Authorization to search the cellular telephone described in Attachment A
includes the search of disks, memory cards, deleted data, remnant data, slack space,
and temporary or permanent files contained on or in the cellular telephone for
evidence described below. The seizure and search of the cellular telephone shall
follow the search methodology described in the affidavit submitted in support of the
warrant.

       The evidence to be seized froth the cellular telephone will be electronic
records, communications, and data such as emails, text messages, chats and chat logs
from various third-party applications, photographs, audio files, videos, and location
data, for the period of April 28, 2022 up to and including May 28, 2022:

      a.     tending to indicate efforts to import controlled substances from Mexico
             into the United States;

      b.     tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers-used to
             facilitate the importation of controlled substances from Mexico into the
             United States;

      c.    tending to identify co-conspirators, criminal associates, or others
            involved in importation of fentanyl, methamphetamine, cocaine,
            heroin, or some other federally controlled substance, from Mexico into
            the United States;

      d.    tending to identify travel to or presence at locations involved in the
            importation of controlled substances from Mexico into the United
            States, such as stash houses, load houses, or delivery points;

      e.    tending to identify the user of, or persons with control over or access
            to, the Target Device; and/or

      f.    tending to place in context, identify the creator or recipient of, or
            establish the time of creation or receipt of communications, records, or
            data involved in the activities described above;
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which are evidence of violations of Title 21, United States Code, Sections 952, 960
and 963.
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 1                                          AFFIDAVIT
 2         I, Special Agent Bradley Blazer, being duly sworn, hereby state as follows:
 3                                      INTRODUCTION
 4         1.    I submit this affidavit in support of an application for a warrant to search the
 5 following electronic device:
 6                      iPhone 12 Pro Max
 7                      Seizure No. 2022205600050901-0007
 8                      ("Target Device")
 9 as further described in Attachment A, and '\o seize evidence of crimes, specifically
1O violations of Title 21, United States Code, Sections 952, 960, and 963 as further described
11 in Attachment B. The requested warrant relates to the investigation and prosecution of
12 Isaac PADILLA ("Defendant") for importing approximately 2.04 kilograms (4.50 pounds)
13 of fentanyl, 15.34 kilograms (33.82 pounds) ofmethamphetamine, 9.14 kilograms (20.15
14 pounds) of cocaine, and 1.32 kilograms (2.91 pounds) of heroin from Mexico into the
15 United States.    The Target Device is currently in the custody of Homeland Security
16 Investigations and located at 880 Front Street, Suite 3200, San Diego, California 92101.
17         2.    The information contained in this affidavit is based upon my training,
18 expenence, investigation, and consultation with other members of law enforcement.
19 Because this affidavit is made for the limited purpose of obtaining a search warrant for the
20 Target Device, it does not contain all the information known by me or other agents
21 regarding this investigation. All dates and times described are approximate.
22                                      BACKGROUND
23         3.    I have been employed as a Special Agent with Homeland Security
24 Investigations (HSI) since May of 2021. I am currently assigned to the HSI Office of the
25 Deputy Special Agent in Charge, in San Ysidro, California. I am a graduate of the Federal
26 Law Enforcement Training Center in Glynco, Georgia.
27         4.    During my tenure with law enforcement, I have participated in the
28 investigation of various narcotics trafficking organizations involved in the importation and
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 1 distribution of controlled substances into and through the Southern District of
 2 California.    Through my training, experience, and conversations with other law
 3 enforcement officers experienced in narcotics trafficking investigations, I have gained a
 4 working knowledge of the operational habits of narcotics traffickers, in particular those
 5 who attempt to import narcotics into the United States from Mexico at Ports of Entry.
 6         5.     I am aware that it is common practice for narcotics traffickers to work in
 7 concert utilizing cellular telephones. A common tactic utilized by narcotics traffickers is
 8 to smuggle controlled substances into the United States from Mexico by concealing the
 9 controlled substances in vehicles or on persons entering the United States at Ports of Entry
10 such as the San Ysidro Port of Entry and the Otay Mesa Port of Entry. With respect to the
11 importation of narcotics in this manner, I am aware that narcotics traffickers in Mexico
12 frequently communicate with the individual responsible for importing the concealed
13 narcotics into the United States. These communications can occur before, during and after
14 the narcotics are imported into the United States. For example, prior to the importation,
15 narcotics traffickers     frequently   communicate with the transporter(s) regarding
16 arrangements and preparation for the narcotics importation. When the importation is
17 underway, narcotics traffickers frequently communicate with the transporter(s) to remotely
18 monitor the progress of the narcotics, provide instructions and warn accomplices about law
19 enforcement activity. When the narcotics have been imported into the United States,
20 narcotics traffickers may communicate with the transporter(s) to provide further
21 instructions regarding the delivery of the narcotics to a destination within the United States.
22         6.     Based upon my training, experience, and consultations with law enforcement
23 officers experienced in narcotics trafficking investigations, and all the facts and opinions
24 set forth in this affidavit, I am aware that cellular telephones (including their SIM card(s))
25 can and often do contain electronic evidence, including, for example, phone logs and
26 contacts, voice and text communications, and data, such as emails, text messages, chats
27 and chat logs from various third-party applications, photographs, audio files, videos, and
28 location data. This information can be stored within disks, memory cards, deleted data,
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 1 remnant data, slack space, and temporary or permanent files contained on or in the cellular
 2 telephone. Specifically, searches of cellular telephones of individuals involved in the
 3 importation of narcotics may yield evidence:
 4
           a.     tending to indicate efforts to import controlled substances from Mexico
 5                into the United States;
 6
           b.     tending to identify accounts, facilities, storage devices, and/or services-
 7                such as email addresses, IP addresses, and phone numbers-used to
 8                facilitate the importation of controlled substances from Mexico into the
                  United States;
 9
10         C.     tending to identify co-conspirators, criminal associates, or others involved
                  in importation of fentanyl, methamphetamine, cocaine, and heroin from
11                Mexico into the United States;
12
           d.     tending to identify travel to or presence at locations involved in the
13                importation of controlled substances from Mexico into the United States,
14                such as stash houses, load houses, or delivery points;

15         e.     tending to identify the user of, or persons with control over or access to,
16                the Target Device; and/or

17         f.     tending to place in context, identify the creator or recipient of, or establish
18                the time of creation or receipt of communications, records, or data involved
                  in the activities described above.
19
                        FACTS SUPPORTING PROBABLE CAUSE
20
           7.     On May 28, 2022, at approximately 4:00 AM, Isaac PAD ILLA,
21
     ("PAD ILLA"), a United States citizen, applied for entry into the United States from
22
     Mexico through the Otay Mesa Port of Entry (POE) in vehicle lane #5. PADILLA was
23
     the driver, sole occupant, and registered owner of a 2011 Nissan Sentra ("the vehicle")
24
     bearing California license plates.
25
26         8.     A Customs and Border Protection (CBP) Officer received two negative

27 Customs declarations from PAD ILLA. PAD ILLA stated he was crossing the border to
28 go to Chula Vista, California. The CBP Officer received a computer-generated alert and
     referred the vehicle and its occupant to secondary inspection.
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           9.     A CBP Officer operating the Z-Portal X-Ray machine detected anomalies in
 1
     the gas tank, rear bumper, and dashboard area of the vehicle.
 2
 3         10.    A Canine Enforcement Team was conducting secondary inspection
 4 operations when the Human and Narcotic Detection Dog alerted to the rear door seam
 5 and undercarriage area of the vehicle.
 6         11.    Further inspection of the vehicle resulted in the discovery of packages
 7 concealed in the gas tank, rear bumper, under the dashboard, and behind the speedometer
 8 of the vehicle. Three packages contained a substance, a sample of which field tested
 9 positive for the characteristics of fentanyl, with a total approximate weight of 2.04 kgs
1O (4.50 lbs); 31 packages contained a substance, a sample of which field tested positive for
11 the characteristics of methamphetamine, with a total approximate weight of 15.34 kgs
12 (33.82 lbs); eight packages contained a substance, a sample of which field tested positive
13 for the characteristics of cocaine, with a total approximate weight of 9 .14 kgs (20.15 lbs);
14 and one package contained a substance, a sample of which field tested positive for the
15 characteristics of heroin, with a total approximate weight of 1.32 kg (2.91 lbs). In total,
16 43 packages were removed from the vehicle. PAD ILLA was placed under arrest at
17
     approximately 5: 16 AM.
18
           12.    PADILLA was arrested and charged with a violation of Title 21, United
19
     States Code, 952 and 960, importation of a controlled substance.
20
21         13.    The Target Device was found and seized by a CBP Officer who was tasked to
22 perform a secondary inspection of the Vehicle and inventory all the property seized from
23 the Defendant and his Vehicle. The Target Device was found in Defendant's pocket.
24 Defendant was shown the Target Device and identified the Target Device as belonging to
25 him.
26         14.    Based upon my expenence and training, consultation with other law
27 enforcement officers experienced in narcotics trafficking investigations, and all the facts
28 and opinions set forth in this affidavit, I believe that telephone numbers, contact names,
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 1 electronic mail (email) addresses, appointment dates, messages, pictures and other digital
 2 information are stored in the memory of the Target Device. In light of the above facts and
 3 my experience and training, there is probable cause to believe that Defendant was using
 4 the Target Device to communicate with others to further the importation of illicit narcotics
 5 into the United States. Further, in my training and experience, narcotics traffickers may be
 6 involved in the planning and coordination of a drug smuggling event in the days and weeks
 7 prior to an event. Co-conspirators are also often unaware of a defendant's arrest and will
 8 continue to attempt to communicate with a defendant after their arrest to determine the
 9 whereabouts of the narcotics. Based on iny training and experience, it is also not unusual
10 for individuals, such as Defendant, to attempt to minimize the amount of time they were
11 involved in their smuggling activities, and for the individuals to be involved for weeks and
12 months longer than they claim. Accordingly, I request permission to search the Target
13 Device for data beginning on April 28, 2022 up to and including May 28, 2022.
14                                     METHODOLOGY
15         15.   It is not possible to determine, merely by knowing the cellular telephone's
16 make, model and serial number, the nature and types of services to which the device is
17 subscribed and the nature of the data stored on the device. Cellular devices today can be
18 simple cellular telephones and text message devices, can include cameras, can serve as
19 personal digital assistants and have functions such as calendars and full address books and
20 can be mini-computers allowing for electronic mail services, web services and rudimentary
21 word processing. An increasing number of cellular service providers now allow for their
22 subscribers to access their device over the internet and remotely destroy all of the data
23 contained on the device. For that reason, the device may only be powered in a secure
24 environment or, if possible, started in "flight mode" which disables access to the network.
25 Unlike typical computers, many cellular telephones do not have hard drives or hard drive
26 equivalents and store information in volatile memory within the device or in memory cards
27 inserted into the device. Current technology provides some solutions for acquiring some of
28 the data stored in some cellular telephone models using forensic hardware and software.
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 1 Even if some of the stored information on the device may be acquired forensically, not all
 2 of the data subject to seizure may be so acquired. For devices that are not subject to forensic
 3 data acquisition or that have potentially relevant data stored that is not subject to such
 4 acquisition, the examiner must inspect the device manually and record the process and the
 5 results using digital photography. This process is time and labor intensive and may take
 6 weeks or longer.
 7            16.   Following the issuance of this warrant, I will collect the Target Device and
 8 subject it to analysis. All forensic analysis of the data contained within the telephone and
 9 its memory cards will employ search protocols directed exclusively to the identification
10 and extraction of data within the scope of this warrant.
11            17.   Based on the foregoing, identifying and extracting data subject to seizure
12 pursuant to this warrant may require a range of data analysis techniques, including manual
13 review, and, consequently, may take weeks or months. The personnel conducting the
14 identification and extraction of data will complete the analysis within ninety (90) days of
15 the date the warrant is signed, absent further application to this court.
16
17                        PRIOR ATTEMPTS TO OBTAIN TIDS EVIDENCE
18            18.   Law enforcement has not previously attempted to obtain the evidence sought
19 by this warrant.
20 II
21 II
   II
22 II
23 II
   II
24 II
   II
25 II
26 II
27 II
     II
28
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  1                                       CONCLUSION
  2        19.    Based on the facts and information set forth above, I submit there is probable
  3 cause to believe that a search of the Target Device will yield evidence of Defendant's
  4 violations of Title 21, United States Code, Sections 952, 960 and 963. Accordingly, I
  5 request that the Court issue a warrant authorizing law enforcement to search the item
  6 described in Attachment A, and seize the items listed in Attachment B using the above-
  7 described methodology.
  8
  9
 10 I swear the foregoing is true and correct to the best of my knowledge and belief.
 11
 12
 13
                                             Bradley Blazer, Special Agent
 14                                          Homeland Security Investigations
 15
    Sworn and attested to under oath by telephone, in accordance with Federal Rule of
 16 Criminal Procedure 4.1, this 31st day of May 2022.
 17
 18
 19 Hon. Karen S. Crawford
    United States Magistrate Judge
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